                                         Case 4:22-md-03047-YGR Document 377 Filed 09/27/23 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     IN RE: SOCIAL MEDIA ADOLESCENT                    Case No. 22-md-03047-YGR (TSH)
                                         ADDICTION/PERSONAL INJURY
                                   8     PRODUCTS LIABILITY LITIGATION
                                                                                           ORDER OF RECUSAL
                                   9
                                         This Filing Relates to:
                                  10     ALL ACTIONS
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          TO ALL PARTIES AND COUNSEL OF RECORD:

                                  14          I, the undersigned magistrate judge of the court, finding myself disqualified in the above-

                                  15   entitled proceeding, hereby recuse myself from this matter as the assigned discovery magistrate

                                  16   judge and request that the case be reassigned to another magistrate judge.

                                  17          IT IS SO ORDERED.

                                  18
                                  19   Dated: September 27, 2023

                                  20                                                   ______________________________________
                                                                                       THOMAS S. HIXSON
                                  21                                                   United States Magistrate Judge
                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
